952 F.2d 395
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Randall Lee GOODALL, Plaintiff-Appellant,v.VIRGINIA STATE PENITENTIARY;  Department of Corrections,Defendants-Appellees.
    No. 91-7694.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 5, 1991.Decided Dec. 26, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  (CA-90-1686-N), Rebecca B. Smith, District Judge.
      Randall Lee Goodall, appellant pro se.
      Mark Ralph Davis, William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, MURNAGHAN and NIEMEYER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Randall Lee Goodall appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Goodall v. Virginia State Penitentiary, No. CA-90-1686-N (E.D.Va. Sept. 17, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    